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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                    EASTERN DIVISION


J&J SPORTS PRODUCTIONS, INC.,                             )
                                                          )
        Plaintiff,                                        )
                                                          )
v.                                                        )           No. 1:18-cv-01080-STA-jay
                                                          )
RODRIGO RAYAS and LAROKA, LLC,                            )
                                                          )
        Defendants.                                       )


                       ORDER DISMISSING CASE WITHOUT PREJUDICE


        Plaintiff J&J Sports Productions, Inc., filed the instant Complaint against Defendants Rodrigo

Rayas and LaRoka, LLC, on April 30, 2018. (ECF No. 1.) To date, neither Defendant has been served.

Federal Rule of Civil Procedure 4 requires the Court to dismiss an action without prejudice if the defendant

has not been served within ninety days of the filing of the complaint—unless the plaintiff can show good

cause for the failure to serve the defendant. Fed. R. Civ. P. 4(m).

        On August 7, 2018, the Court ordered Plaintiff to show cause for its failure to serve Defendants.

On September 13, 2018, Plaintiff responded, asking the Court for additional time to serve Defendants. (ECF

No. 10.) The Court granted Plaintiff an additional forty-five (45) days to perfect service. (ECF No. 12.)

        Plaintiff’s deadline to serve Defendants has long passed. Therefore, this case is DISMISSED

WITHOUT PREJUDICE pursuant to Federal Rule of Civil Procedure 4.

        IT IS SO ORDERED.

                                                  s/ S. Thomas Anderson
                                                  S. THOMAS ANDERSON
                                                  CHIEF UNITED STATES DISTRICT JUDGE

                                                  Date: August 27, 2019
